Case 16-13754-KCF           Doc 90     Filed 01/13/17 Entered 01/13/17 14:05:17                 Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In Re:                                                    Case No.:          16-13754(KCF)
                                                                           __________________
RASLOWSKY, Ronald J.,                                     Chapter:                  7
                                                                           __________________
                                                          Judge:                Ferguson
                                                                           __________________


                             NOTICE OF PROPOSED ABANDONMENT

               Andrea Dobin
__________________________________,                  Trustee
                                             ____________________     in this case proposes to abandon
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

    Address of the Clerk: Jeanne Naughton, Clerk
                         402 East State St.
                         Trenton, NJ 08608



                                                                                         Kathryn C. Ferguson
If an objection is filed, a hearing will be held before the Honorable _______________________________
       February 14, 2017
on ______________________                 11
                                  at ________a.m.      at the United States Bankruptcy Court, Courtroom no.
     3
________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
    Description and value of property: 2229 Ponybrook Way, Toms River, NJ valued at $800,000.
                                      Debtor owns a 50% interest




    Liens on property:               M&T Bank -- $588,550.06, plus interest since 9/30/16
                                      Wachovia Bank -- $190,000 (approx)
                                      Accruing Real Estate Taxes




    Amount of equity claimed as exempt: -0-



Objections must be served on, and requests for additional information directed to:

Name:             Andrea Dobin
                  ________________________________________________________________________
Address:          427 Riverview Plaza, Trenton, NJ 08611
                  ________________________________________________________________________
               609-695-6070
Telephone No.: ________________________________________________________________________

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